Entered: November 17th, 2017
                                 Case 16-21199     Doc 39   Filed 11/17/17   Page 1 of 2
Signed: November 16th, 2017

SO ORDERED




                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF MARYLAND
                                                Greenbelt Division

        In Re:

        William Leander Mooney, IV                                     Case No. 16-21199-WIL
        Nancy Olivia Mooney                                            Chapter 7
                         Debtors

             ORDER GRANTING DEBTORS’ MOTION TO EXTEND TIME TO RESPOND TO
                         TRUSTEE’S OBJECTION TO EXEMPTIONS

                  Upon consideration of the Debtors’ Motion to Extend Time to Respond to the Trustee’s

          Objection to Debtors’ Amended Schedule of Property Claimed as Exempt (Dkt. 35)

          (“Objection”); any response or opposition thereto; and it appearing that good cause exists to

          grant the Motion; it is, by the United States Bankruptcy Court for the District of Maryland,

          hereby,

                               ORDERED, that the Motion is GRANTED; and it is further
                 Case 16-21199       Doc 39     Filed 11/17/17     Page 2 of 2



              ORDERED, that the time for Debtors to respond to the Objection is extended to

thirty (30) days after the entry of a final order in Case No. 435769V in the Circuit Court for

Montgomery County, Maryland or a fully executed settlement agreement in that case.


Copies to:

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U.S. Trustee
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                                       END OF ORDER
